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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                 Plaintiff,             Case No. CR22-001 TL

10           v.                                           DETENTION ORDER

11 SHABNAM DAWN PILISUK,

12                                 Defendant.

13
             The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
14
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
15
     finds that no condition or combination of conditions which the defendant can meet will
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     reasonably assure the appearance of the defendant as required and the safety of any other person
17
     and the community.
18
             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
19
             (1)    Defendant has been charged by complaint and then with a subsequent Grand Jury
20
     indictment with Count 1: Aggravated Sexual Abuse of a Child under 12; Count 2: Production of
21
     Child Pornography; Counts 3 and 4: Transportation of a Minor with Intent to Engage in Criminal
22
     Sexual Activity; Count 5: Possession of Child Pornography. This matter is an Adam Walsh Act
23
     Case.


     DETENTION ORDER - 1
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 1          (2)    The Court received information about defendant’s personal history, residence,

 2 family, community ties, employment, financial status, health and substance use. The defendant

 3 through her attorney made argument for release and the Court reviewed the defendant’s motion

 4 for release with attachments. The defendant is a risk of nonappearance based on her substance

 5 abuse history and mental health history. As well has her noncompliance with prior court orders,

 6 use of aliases, pending charges, possession of a passport and enhanced identification card with a

 7 history of foreign travel. The defendant is a risk of danger based on the nature of the instant

 8 offense, safety concerns for the alleged victim, including contact with the alleged victim,

 9 substance abuse history and mental health history.

10          It is therefore ORDERED:

11          (1)    Defendant shall be detained pending trial and committed to the custody of the

12 Attorney General for confinement in a correctional facility separate, to the extent practicable,

13 from persons awaiting or serving sentences, or being held in custody pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17 Government, the person in charge of the correctional facility in which Defendant is confined

18 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

19 connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

21 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

22 Officer.

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 1        DATED this 13th day of January, 2022.

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 3                                                PAULA L. MCCANDLIS
                                                  United States Magistrate Judge
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     DETENTION ORDER - 3
